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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

 ASCENDIUM EDUCATION SOLUTIONS, INC.,

 2501 International Lane,
 Madison, WI 53704

                      Plaintiff,

               v.

 BETSY DEVOS, in her official capacity as            Civil Action No. 19-3831
 Secretary of the Department of Education,

 Office of the Secretary
 400 Maryland Avenue, SW
 Washington, D.C. 20202, and

 THE DEPARTMENT OF EDUCATION,

 400 Maryland Avenue, SW
 Washington, D.C. 20202,

                      Defendants.


   COMPLAINT AND PRAYER FOR DECLARATORY AND INJUNCTIVE
                         RELIEF

      Plaintiff Ascendium Education Solutions, Inc. (“Ascendium”), by and through

its attorneys, alleges:

                           PRELIMINARY STATEMENT

      1.     This case concerns the Secretary of the Department of Education’s

(“Department’s”) authority to override provisions of the Higher Education Act

(“HEA”) establishing that all defaulted Federal Family Educational Loan Program
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(“FFELP”) borrowers must pay fees to offset the costs FFELP guarantors incur

engaging in collection activities and helping borrowers get out of default.

         2.     Two HEA provisions are central to this action.

         3.     First, the HEA provides that any borrower in default “shall be required

to pay … reasonable collection costs” on defaulted FFELP loans.1

         4.     Second, the HEA creates a distinct rehabilitation fee to be charged when

a loan is rehabilitated. The HEA allows borrowers to rehabilitate their defaulted

loans by making a series of statutorily prescribed “reasonable and affordable”

payments based on a borrower’s total financial circumstances. The HEA provides that

when a guarantor sells a rehabilitated loan, the guarantor may “charge to the

borrower an amount not to exceed 16 percent of the outstanding principal and

interest at the time of the loan sale.”2

         5.     Despite this clear statutory language, the Department recently

promulgated the Guaranty Agency Collections Fee Rule (“Rule”),3 which prohibits

FFELP guarantors from charging and receiving both reasonable collection costs and

the rehabilitation fee when a defaulted borrower enters a rehabilitation agreement

or other “acceptable repayment agreement” within 60 days of receiving notice of

default and subsequently honors that agreement.


1   20 U.S.C. § 1091a(b)(1).
2   20 U.S.C. § 1078-6(a)(1)(D)(i)(II)(aa); see also 20 U.S.C. § 1078-6(a)(1)(E)(ii).
3This new rule is referred herein as the “Guarantee Agency Collections Fee Rule” or
“Rule,” and it is the Department’s amendment of 34 C.F.R. § 682.410(b)(2). See 84
Fed. Reg. 49788, 49926 (amending 34 C.F.R. § 682.410(b)(2)), Student Assistance
General Provisions, Federal Family Education Loan Program, and William D. Ford
Federal Direct Loan Program (Sept. 23, 2019)).

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        6.     The Rule it is at odds with the HEA’s clear and unambiguous statutory

language requiring defaulted borrowers to pay reasonable collection fees whenever

there is a default and a rehabilitation fee whenever a defaulted loan is rehabilitated.

        7.     If Congress creates a mandate, it is for Congress, not administrative

agencies, to create exceptions.

        8.     The Rule exceeds the Department’s statutory authority, is arbitrary and

capricious, and is otherwise not in accordance with law. The Rule consequently

should be declared unlawful and set aside.

                                   THE PARTIES

A.      THE PLAINTIFF

        9.     Ascendium is a nonprofit corporation incorporated in and with its

principal place of business in Wisconsin.

        10.    Ascendium is a guaranty agency4 within the meaning of Subchapter IV

of the Higher Education Act.5 It currently serves as designated FFELP guarantor in

27 U.S. states and territories.

        11.    Ascendium is also one of the nation’s largest higher-education

philanthropies. It has made nearly $100 million in grant commitments in 2019 alone,

all aimed at helping increase traditionally underserved populations’ access and

success in higher education. Ascendium uses the money it obtains from its guaranty

operations to fund its philanthropy.



4 This Complaint uses the terms “guarantor” and “FFELP guarantor” to mean
“guaranty agency” as defined by 20 U.S.C. § 1085(j).
5   20 U.S.C. §§ 1070-1099d.

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         12.    As an FFELP guarantor, Ascendium holds defaulted FFELP loans.

Ascendium is obligated by statute and regulation to undertake collection activities

and enter into rehabilitation agreements with qualifying borrowers. HEA-permitted

fees help Ascendium offset its costs for performing these activities. The Rule prevents

Ascendium from recovering fees for which the HEA expressly provides.

         13.    Ascendium submitted comments opposing the Rule at both the

Negotiated Rulemaking stage and in response to Defendants’ Notice of Proposed

Rulemaking.6

B.       THE DEFENDANTS

         14.    Defendant Betsy DeVos is the Secretary of the Department of

Education. Her official address is 400 Maryland Avenue, SW, Washington, D.C.

20202. She is being sued in her official capacity. In that capacity, Secretary DeVos

has overall responsibility for the operation and management of the Department,

including the Department’s administration of all rules implementing the HEA.7 She

is responsible for the Department’s final promulgation of the Rule.

         15.    Defendant Department of Education is, and was at all times relevant to

this complaint, an executive branch agency of the United States.8 It is subject to the




6When it submitted comments, Ascendium was known as Great Lakes Higher
Education Guaranty Corporation.
7   34 U.S.C. § 3411.
8   34 U.S.C. § 3411.

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Administrative Procedures Act.9 The Department is located at 400 Maryland Avenue,

SW, Washington, D.C. 20202.

                               JURISDICTION AND VENUE

          16.    This action arises under the Administrative Procedures Act.10

Jurisdiction lies in this Court pursuant to 28 U.S.C. § 1331.

          17.    Venue is proper in this Court because this is an action against officers

and agencies of the United States, the Defendants reside in and perform their duties

in this judicial district, a substantial part of the events giving rise to this action

occurred in this judicial district, and no real property is involved.11

                                  FACTUAL ALLEGATIONS

A.        FEDERAL FAMILY EDUCATIONAL LOAN PROGRAM

           i.    FFELP Background

          18.    FFELP is part of the HEA.12 It has helped millions of students pursue

a higher education by allowing people without the collateral or credit history to

borrow money in traditional lending markets to get student loans. It accomplishes

this through a two-tiered insurance model in which:

      •   Private lenders make FFELP loans without traditional underwriting

          requirements;




9   5 U.S.C. § 551(1).
10   5 U.S.C. §§ 553, 701-706.
11   28 U.S.C. § 1391(e)(1).
12   20 U.S.C. §§ 1071, et seq.

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      •   Guarantors insure lenders and purchase defaulted loans if lenders have

          satisfied certain statutory and regulatory “due-diligence” requirements; and

      •   The Department reinsures guarantors and takes over “uncured” defaulted

          FFELP loans if guarantors have satisfied their own set of statutory and

          regulatory “due diligence” requirements.

          19.    In 2010, Congress discontinued the FFEL program for new student

loans.13 But millions of borrowers continue to have—and guarantors continue to

insure or hold—legacy FFELP loans.

          20.    Guarantors play a pivotal role in the FFELP framework even before

loans default. For example, guarantors provide financial aid outreach and develop

high-quality financial management programs that address debt management and

financial literacy.14 Guarantors also engage in default aversion activities aimed at

helping delinquent borrowers avoid default.15 And guarantors assume loans in

instances other than default, including when borrowers have pending bankruptcies.




13   See 20 U.S.C. §§ 1087a, et seq.
14 See, e.g., 20 U.S.C. § 1083a(a) (requiring guarantors to “develop and make available
high-quality educational programs and materials to provide training for students and
families in budgeting and financial management, including debt management and
other aspects of financial literacy”); see also 20 U.S.C. § 1072b (permitting guaranty
agencies to use agency operating funds to engage in “school and lender training,
financial aid awareness and related outreach activities, … and other student
financial aid related activities”).
15   20 U.S.C § 1078(l).

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           ii.    FFELP Default

          21.     When a borrower is delinquent for 270 days, the loan is in default,16 and

a lender has 90 days to submit a default claim to the guarantor.17

          22.     Once a lender makes a default claim, the guarantor must engage in

numerous activities mandated by statute or regulation.

          23.     Guarantors must vet lenders’ default insurance claims and verify that

lenders have satisfied numerous “due diligence” and other requirements for obtaining

FFELP insurance (including asking the guarantor to engage in mandated “default

aversion” activities).18 Guarantors then must pay qualifying lender claims and

assume defaulted loans.19

          24.     Within 45 days of paying lender claims, guarantors must:

      •   Send defaulted borrowers a notice that demands repayment and otherwise

          informs borrowers of their obligations, options, and rights;20 and

      •   Provide borrowers with a 60-day debt substantiation period to verify and

          challenge the amount due through a process that includes an administrative

          hearing for borrowers who seek it.21




16 20 U.S.C. § 1085(l). The HEA provides that loans with longer-than-monthly
payment installments are in default 330 days after delinquency. Id. The loans held
or guaranteed by Ascendium provide for monthly installment payments.
17   34 C.F.R. § 682.406(a)(5).
18   34 C.F.R. § 682.406(a).
19   34 C.F.R. § 682.406(a).
20   34 C.F.R. § 682.410(b)(5)(vi)(D); 34 C.F.R. § 682.410(b)(6)(ii).
21   34 C.F.R. § 682.410(b)(5)(ii)-(iv).

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         25.      To locate borrowers, guarantors must also engage in skip-tracing.22

         26.      After the 60-day period for the borrower to administratively challenge

the default elapses (or after an administrative challenge is denied), guarantors must

engage in additional activities including credit reporting and, if borrowers have not

made payment arrangements, tax-offsets and wage-garnishment.23

         27.      In the mid-1980’s, Congress grew concerned federal taxpayers were

footing the bill for collecting on defaulted student loans. So in 1986, Congress

amended the HEA to provide that any borrower in default “shall be required to pay

… reasonable collection costs” on defaulted FFELP loans.24

          iii.    Loan Rehabilitation

         28.      In 1992, Congress made available to all first-time defaulters a default-

reduction program codified in regulations as “loan rehabilitation.”25

         29.      Rehabilitation is a way for first-time defaulters to establish a sufficient

repayment track record to get their loans purchased out of default by a FFELP lender

and get back in good standing.




22   20 U.S.C. § 1078(c)(2)(G); 34 C.F.R. § 682.406(a)(14).
23 See, e.g., 20 U.S.C. §§ 1091a(b)(2)(B) (preempting state limitations on guarantor
attempts to collect on defaulted FFEL Program loan through litigation, offset,
garnishment, or other action); 1095a (authorizing guarantors to garnish wages of
defaulted borrowers); 31 U.S.C. § 3720A(a) (authorizing third-parties acting as agent
of federal government to seek tax offset where federal agency is owed a past-due
legally enforceable debt); see also 34 C.F.R. § 682.410(b)(6)(ii),(v)-(vii).
24   20 U.S.C. 1091a(b)(1).
25P.L. 102-325, Sec. 420; see also Dear Colleague Letter (DCL) GEN-92-21 at 20-21
(Oct. 1992). Today, loan rehabilitation is codified at 20 U.S.C. § 1078-6(a).

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         30.    To rehabilitate a defaulted loan, a borrower must enter a written

rehabilitation agreement with a guarantor.26 The terms of such agreements are

dictated by the HEA and implementing regulations, and guarantors are required to

allow qualifying borrowers to rehabilitate.

         31.    To rehabilitate a defaulted loan, borrowers are required to make “9

payments ... within 20 days of the due date during 10 consecutive months” in an

amount that is no “more than is reasonable and affordable based on the borrower’s

total financial circumstances.”27

         32.    Making the nine payments alone is insufficient to rehabilitate a

defaulted loan. The HEA also requires guarantors to broker the sale of the loan to an

FFELP lender. If no buyer can be found, a guarantor must assign the loan to the

Secretary.28 At the time of statutorily mandated sale, the guarantor must remove the

default and, “in order to defray collection costs― ... charge to the borrower an amount

not to exceed 16 percent of the outstanding principal and interest[.]”29

         33.    Loan rehabilitation is not loan repayment. Monthly loan rehabilitation

payments can be as low as $5 under the reasonable and affordable rehabilitation




26   34 C.F.R. § 682.405(b)(1)(vi).
27   20 U.S.C. § 1078-6(a)(1)(A), (B).
2820 U.S.C. § 1078-6(a)(1)(A); see also 34 C.F.R. § 682.405(a)(2)(i)(ii) (“A loan is
considered rehabilitated only after” timely payments are made and “[t]he loan has
been sold to an eligible lender or assigned to the Secretary”).
29 20 U.S.C. § 1078-6(a)(1)(D)(i)(II)(bb); see also 20 U.S.C. § 1978-6(a)(1)(E)(i)
(guaranty agencies “duties upon assignment” include adding an amount equivalent
to the sold-to-new-lender rehabilitation fee to rehabilitated loan’s principal and
interest at the time of assignment to the Secretary).

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calculation. This means that borrowers can rehabilitate their loans for as little as $45

in total payments. After rehabilitating the loan, though, the borrower must resume a

regular repayment schedule with the new lender.30

         34.      A guarantor’s work (and costs) associated with rehabilitating a loan is

the same whether a defaulted borrower enters a rehabilitation agreement within 60

days of receiving the guarantor’s initial default correspondence or the borrower enters

a rehabilitation agreement more than 60 days after receiving the initial default

correspondence from the guarantor.

B.       PRE-RULEMAKING TREATMENT OF GUARANTOR COLLECTION FEES AND THE
         REHABILITATION FEE

           i.     The Department Permitted Guarantors To Charge Collection Fees And
                  Rehabilitation Fees Without Regard To When Borrowers Entered
                  Rehabilitation Agreements

         35.      For more than two decades after Congress’ 1986 mandate that borrower

pay “reasonable collection fees,” guarantors assessed such standard default collection

fees on a per-payment basis. Likewise, for more than two decades after Congress

established the loan rehabilitation program in 1992, guarantors charged the

statutorily established rehabilitation fee when loans were rehabilitated.

         36.      And, for more than two decades after Congress’ 1986 and 1992

provisions mandating payment of the standard default collection fees and permitting

the assessment of rehabilitation fees, the Department permitted FFELP guarantors

to charge both types of fees regardless of when a defaulted loan was rehabilitated.



30   See 34 C.F.R. § 682.405(b)(1)(vi)(A).

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      37.       The Department regularly audited guarantors to ensure their

compliance with its rules and guidance and never challenged guarantors’ practice of

charging both standard collection fees and the rehabilitation fee whenever a loan was

rehabilitated, regardless of whether the borrower entered a rehabilitation agreement

before or after the 60-day debt substantiation period.

        ii.     Bible, the Dear Colleague Letter, and the Dear Colleague Letter
                Withdrawal

      38.       In 2015, the Department changed its position with respect to

guarantors’ assessment of collection fees and rehabilitation fees in an amicus brief

filed by the United States in Bible v. United Student Aid Funds, Inc.

      39.       Bible was a putative class action lawsuit brought against an FFELP

guarantor alleging, among other claims, that FFELP loan agreements incorporate

the HEA and that HEA regulations do not permit guarantors to charge collection fees

or rehabilitation fees to defaulted borrowers who promptly enter into and satisfy a

rehabilitation agreement.

      40.       At the Bible court’s invitation, the United States filed an amicus brief

stating that “[t]he Department interprets [HEA] regulations to provide an exception

to the requirement to charge collection costs when a borrower promptly enters into a

loan repayment agreement (including a rehabilitation agreement) within [60 days]

after the borrower has been notified by the guarantor that it has paid a default claim.”

The Department’s position, as articulated in the amicus brief, treated the

rehabilitation fee as falling under the ambit of collection fees. Its position was that

guarantors may not assess standard default collection fees or the rehabilitation fees

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when a defaulted borrower enters into a rehabilitation agreement within 60 days of

being notified that a guarantor has paid a lender’s default claim.

         41.     The Department’s position in Bible announced a new interpretation of

the HEA and its implementing regulations without notice and comment rulemaking.

         42.     In a split decision producing three separate opinions, two of the three

7th Circuit judges gave Auer deference to the Department’s interpretation of its

regulations as articulated in the United States’ amicus brief.

         43.     Judge Manion dissented. Judge Manion’s opinion noted that the

regulations do “not contain an exception to charging costs for any kind of repayment

agreement, let alone a rehabilitation agreement.” Judge Manion further criticized the

plaintiff (and the Department) for conflating “repayment agreement[s] on terms

satisfactory to the agency” with rehabilitation agreements, the latter of which does

“not allow the borrower to escape collection costs and default reporting.”

         44.     A few weeks after filing its amicus brief, on July 10, 2015, the

Department issued a Dear Colleague Letter (DCL) GEN-15-14 mirroring its position

in Bible.31

         45.     The Department withdrew this first DCL on March 16, 2017, less than

two years after it was issued. In a second DCL, the Department stated that “the

position set forth in the [first] DCL would have benefitted from public input on the

issues discussed in the [first] DCL.”32 The second DCL continued that the Department




31   Dear Colleague Letter (DCL) GEN 15-14 (July 10, 2015).
32   Dear Colleague Letter (DCL) GEN-17-02 (Mar. 16, 2017).

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“will not require compliance with the interpretations set forth in the [first] DCL

without providing prior notice and an opportunity for public comment on the issues

addressed in the DCL.”

C.       THE RULEMAKING

           i.     Negotiated Rulemaking

         46.      In August 2017, the Department announced a negotiated rulemaking

process focused on borrower defense to repayment regulations that would also include

the topic of to “what extent guaranty agencies may charge collection costs under 34

CFR 682.410(b)(6) to a defaulted borrower who enters into a loan rehabilitation

agreement or other repayment agreement within 60 days of being informed that the

guaranty agency has paid a claim on the loan.”33

         47.      “Guaranty Agency Collection Fees” was “Issue #7” in the Negotiated

Rulemaking agenda.34 The issue paper posed the following question to the negotiated

rulemaking committee: “Should the Department revise 34 CFR 682.410(b), regarding

the charging of collections costs by a guaranty agency to a defaulted borrower who

responds within 60 days to the initial notice sent by the guaranty agency after it pays

a default claim and acquires the loan from a lender?”35




33   82 Fed. Reg. 41194-95.
34For negotiated rulemaking materials, see https://www2.ed.gov/policy/highered/reg/
hearulemaking/2017/borrowerdefense.html.
35Negotiated rulemaking proceeding materials are available at https://www2.ed.gov/
policy/highered/reg/hearulemaking/2017/borrowerdefense.html.

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         48.      In its January 2018 negotiated rulemaking session, the Department

circulated a proposed rule that would, in summary, “prospectively bar[] guaranty

agencies from charging collection costs to a defaulted borrower who enters into a

repayment agreement with the guaranty agency within 60 days of receiving notice of

default from the agency.” The text of the proposed rule prohibited guarantors from

charging default collection fees or a rehabilitation fee when a borrower enters into an

acceptable repayment agreement—which the Department defined to include

rehabilitation agreements—within 60 days of receiving the initial default notice.

         49.      Ascendium commented during the negotiated rulemaking, arguing

among other things that the Department’s proposal conflicted with statute and thus

was beyond the Department’s rulemaking authority.

          ii.     Notice of Proposed Rulemaking

         50.      Following negotiated rulemaking sessions, the Department published a

notice of proposed rulemaking in the Federal Register in July 2018.36 The

Department’s draft regulations included a version of the Rule that was materially the

same as the proposed rule circulated during the January 2018 negotiated rulemaking

session.37

         51.      In its notice, the Department asserted that it wanted to “encourage

borrowers to enter into satisfactory repayment plans.” The Department stated that

its proposal was “consistent with the position that the Department previously took in



36   83 Fed. Reg. 37242.
37   See 83 Fed. Reg. 37324.

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Dear Colleague Letter (DCL) GEN-15-14 (July 10, 2015),” which “was withdrawn in

order to allow for public comment….”38

         52.      Ascendium again submitted comments opposing the draft rule as,

among other things, exceeding the Department’s authority given the clear statutory

language providing for the fees the Department proposed eliminating.

         iii.     Publication of the Rule

         53.      On September 23, 2019, the Department promulgated the Rule,

amending 34 C.F.R. § 682.410(b)(2) and adopting the draft rule in all material

respects.39 The Rule is effective July 1, 2020.40

         54.      The Rule constitutes a final agency action.

         55.      With the new Rule’s additions to the preexisting rule denoted with

underlining and deletions from the preexisting rule denoted with strike through

marks, 34 C.F.R. § 682.410(b)(2) reads:

         (2) Collection charges.

         (i) Whether or not provided for in the borrower's promissory note and
         subject to any limitation on the amount of those costs in that note, the
         guaranty agency shall may charge a borrower an amount equal to the
         reasonable costs incurred by the agency in collecting a loan on which the
         agency has paid a default or bankruptcy claim unless, within the 60-day
         period after the guaranty agency sends the initial notice described in
         paragraph (b)(6)(ii) of this section, the borrower enters into an
         acceptable repayment agreement, including a rehabilitation agreement,
         and honors that agreement, in which case the guaranty agency must not
         charge a borrower any collection costs.

38   83 Fed. Reg. 37282.
39   84 Fed. Reg. 49926.
40   84 Fed. Reg. 49788.

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      (ii) An acceptable repayment agreement may include an agreement
      described in §682.200(b) (Satisfactory repayment arrangement),
      §682.405, or paragraph (b)(5)(ii)(D) of this section. An acceptable
      repayment agreement constitutes a repayment arrangement or
      agreement on repayment terms satisfactory to the guaranty agency,
      under this section.

      (iii) These costs under this paragraph (b)(2) may include, but are not
      limited to, all attorney's fees, collection agency charges, and court costs.
      Except as provided in §§682.401(b)(18)(i) and 682.405(b)(1)(ivi)(B),[41]
      the amount charged a borrower must equal the lesser of—

      (A) (i) The amount the same borrower would be charged for the cost of
      collection   under    the  formula    in   34    CFR     30.60;    or

      (B) (ii) The amount the same borrower would be charged for the cost of
      collection if the loan was held by the U.S. Department of Education.

      56.     In summary, the Rule expressly prohibits guaranty agencies from

charging either the standard default collection fees or the rehabilitation fee on any

defaulted loan in which the borrower (1) enters “an acceptable repayment agreement”

with the guarantor; (2) within 60 days of receiving the initial default notice from a

guarantor; and (3) subsequently honors that “acceptable repayment agreement.”

      57.     The Rule defines the term “acceptable payment agreement” to include

rehabilitation agreements.

      58.      In its publication of the Rule, the Department “disagreed with the

commentator who raised legal objections to the Department’s proposed regulation.”

The Department cited the DCL and the Bible decision. The Department also stated


41 The soon-to-be-superseded rule’s cross reference to 682.405(b)(1)(iv)(B) is a
typographical error. That subsection does not exist and the content referenced—the
statutorily prescribed rehabilitation fee—is contained at 682.405(b)(1)(vi)(B).

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that “it is not reasonable for a guaranty agency to charge collection costs for collection

activities it does not need to take because the borrower entered into and met the

requirements of a loan rehabilitation agreement.”42

              CLAIMS FOR DECLARATORY AND INJUNCTIVE RELIEF

       FIRST CLAIM OF RELIEF: DEFENDANTS PROMULGATED FINAL
       REGULATIONS THAT EXCEED THEIR STATUTORY AUTHORITY

         59.     Plaintiff incorporates by reference the allegations throughout this

Complaint.

         60.     Defendants’ promulgation of the Rule exceeds their statutory authority

under the HEA because, among other reasons, the Rule contravenes Congress’

commands that:

         a.      defaulted borrowers “shall be required to pay … reasonable collection

      costs,” 20 U.S.C. § 1091a(b)(1);43 and

         b.      guarantors may “charge to the borrower an amount not to exceed 16

      percent of the outstanding principal and interest at the time of the loan sale” when

      a defaulted loan is rehabilitated.44

         61.     The HEA does not contain any exceptions, exclusions, or carve-outs to

guarantors’ ability to charge and borrowers’ responsibility to pay standard default

collection fees when a loan is in default. Likewise, the HEA does not contain any



42   84 Fed. Reg. 49877.
43   20 U.S.C. § 1091a(b)(1)
4420 U.S.C. § 1078-6(a)(1)(D)(i)(II)(bb); see also see also 20 U.S.C. § 1978-6(a)(1)(E)(i)
(providing that rehabilitation fee shall be assessed when rehabilitated loan is
assigned to Secretary instead of sold).

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exceptions, exclusions, or carve-outs to guarantors’ ability to charge and borrowers’

responsibility to pay the rehabilitation fee whenever a defaulted loan is rehabilitated.

The HEA does not, in turn, provide any authority for the Defendants to eliminate

guarantors’ ability to charge either fee when a defaulted borrower who rehabilitates

his or her loan.

      62.     In the alternative, statutory language does not permit a reasonable

construction that would condition the availability of any collection, rehabilitation, or

other related fees on a defaulted borrowers’ activities rather than on a guarantor’s

performance of reasonable or mandated activities.

      63.     Plaintiffs are entitled to have the Rule vacated and set aside pursuant

to 5 U.S.C. § 706(2)(C).

SECOND CLAIM OF RELIEF: THE DEFENDANTS PROMULGATED FINAL
   REGULATIONS THAT ARE ARBITRARY AND CAPRICIOUS AND
         OTHERWISE NOT IN ACCORDANCE WITH LAW

      64.     Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

      65.     Defendants’ promulgation of the Rule is arbitrary, capricious and

otherwise not in accordance with law because, among other reasons:

      a.      The Rule conditions the ability to charge standard default collection fees

   or a rehabilitation fee on the timing of a defaulted borrower’s entry into “an

   acceptable repayment plan,” defined by the Rule to include a rehabilitation

   agreement, and not on whether a guarantor has or will engage in default-

   collection or other legally mandated activities with respect to defaulted loans.



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Guarantors incur the same costs in connection with rehabilitating a loan

regardless of when a borrower enters into a rehabilitation agreement. Guarantors

perform collection-related activities costs every time a loan is in default. The Rule

thus prevents guarantors from charging standard default collection fees and the

rehabilitation fee for its reasonable or legally mandated collection-related

activities.

   b.     The Rule prevents guarantors whose diligence enables a borrower to

promptly enter into an “acceptable payment agreement,” defined by the Rule to

include a rehabilitation agreement, from charging a borrower either standard

default collection fees or a rehabilitation fee. The Rule permits less diligent

guaranty agencies, which do not engage in prompt outreach, to charge standard

default collection fees and the rehabilitation fee. The Rule operates in this fashion

even where the costs of facilitating rehabilitation and other reasonable default

collection activities incurred by the diligent and dilatory guaranty agencies are

identical. The Rule thus creates a perverse incentive for guarantors to minimize

their borrower outreach and penalizes guarantors who are most successful in

effectuating loan rehabilitation or “acceptable repayment agreements.”

   c.     The Rule defines “acceptable repayment agreements” to include both

“repayment agreement[s] on terms satisfactory to the agency” and rehabilitation

agreements, despite significant differences between these arrangements,

including the lack of guarantor discretion regarding the terms of a rehabilitation

agreement.



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      66.     Plaintiffs are entitled to have the Rule vacated and set aside pursuant

to 5 U.S.C. § 706(2)(A).

                               REQUESTED RELIEF

      67.     WHEREFORE, Plaintiffs pray for an order and judgment:

      a.      Declaring that the Rule is promulgated without statutory authority

   within the meaning of 5 U.S.C. § 706(2)(C).

      b.      Declaring that the Rule is not in accordance with law within the

   meaning of 5 U.S.C. § 706(2)(A);

      c.      Vacating and setting aside the amendments to the Rule;

      d.      Enjoining Defendants and their officers, employees, and agents, from

   implementing, applying, or taking any action whatsoever to enforce the Rule;

      e.      Enjoining Defendants and their officers, employees, and agents, from

   implementing, applying, or taking any action whatsoever to prevent guarantors

   from assessing standard collection fees after the 60-day debt substantiation period

   has concluded without a determination that the default is invalid.

      f.      Enjoining Defendants and their officers, employees, and agents, from

   implementing, applying, or taking any action whatsoever to prevent guarantors

   assessing a rehabilitation fee based on when a defaulted borrower enters a

   rehabilitation agreement;

      g.      Awarding to Plaintiffs fees and other expenses, including attorneys’

   fees, pursuant to 28 U.S.C. § 2412 or any other applicable legal authority; and

      h.      Granting such other and further relief as the Court deems just and

   proper.

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Dated: December 27, 2019


                             Respectfully Submitted,

                             BELL GIFTOS ST. JOHN LLC

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